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                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORIGA
                              SAVANNAH DIVISION

UNITED STATES OF AMERICA               )
                                                                                     /)
                                       )
                                           CR 4: 16-cr-258
  V.                                   )




                                       )



BRANDY ROSS


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                              ORDER OF DISMISSAL

         Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by

leave of Court endorsed hereon, the Government's Motion to Dismiss the Indictment

in the above captioned case with respect to Defendant Brandy Ross is granted, and

Counts Two, Three, and Four against Defendant Brandy Ross are hereby dismissed

without prejudice.

         SO ORDERED, this /rciay of October, 2016.




                                       HON. WILLIAM T. MOO , JR.
                                       UNITED STATES DISTRICT JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA
